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 6   ISRRAEL SANTILLANES

 7

 8
                          IN THE UNITED STATES DISTRICT COURT
 9
                       EASTERN DISTRICT OF CALIFORNIA, FRESNO
10
                                                 *****
11

12                                                  ) Case No.: CR-F-08-0087 OWW
     UNITED STATES OF AMERICA,                      )
13                                                  ) STIPULATION FOR CONTINUANCE
                  Plaintiff,                        )
14                                                  ) AND ORDER THEREON
          vs.                                       )
15   ISRRAEL SANTILLANES,                           )
                                                    )
16                Defendant.                        )

17
                                                    )

18

19         IT    IS   HEREBY       STIPULATED           between     the    Defendants,        ISRRAEL

20   SANTILLANES, by and through their respective attorneys-of-record, Anthony P.
21   Capozzi and Plaintiff, by and through Assistant United States Attorney, Karen Escobar,
22   that the Sentencing hearing now set for Monday, March 23, 2009, be continued to
23   Monday, April 6, 2009, at 9:00 a.m.
24         It is further stipulated by the parties that any delay resulting from this continuance
25   shall be excluded on the following basis:
26         (1)         Title 18, United States Code, Section 3161(h)(8)(A) -- that the ends of justice
                       served by taking such action outweighs the best interest of the public and the
27                     defendant in a speedy trial;
28


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                                                                                 Stipulation for Continuance
                                                                                              08-0087 OWW
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            (2)       Title 18, United States Code, Section 3161(h)(8)(B)(ii): that is unreasonable to
                      expect adequate preparation for pre-trial proceedings or for the trial itself with
 3                    the time limits established due to the complexity of the case.
 4                                             Respectfully submitted,
 5   Dated: March 18, 2009
 6                                                   /s/ Anthony P. Capozzi
                                               ANTHONY P. CAPOZZI,
 7
                                               Attorney for Defendant,
 8                                             ISRRAEL SANTILLANES
 9

10   Dated: March 18, 2009
                                                     /s/ Karen Escobar
11
                                               KAREN ESCOBAR
12
                                               Assistant United States Attorney

13

14
                                                ORDER
15

16
            IT IS SO ORDERED. Good cause having been shown, the hearing set for
17
     Monday, March 23, 2009 is vacated and continued to Monday, April 6, 2009 at 9:00
18
     a.m.
19
            Additionally, time shall be excluded by stipulation from the parties and pursuant
20
     to 18 USC '' 3161(h)(8)(A) and 3161(h)(8)(B)(ii).
21

22
     Dated: March 19, 2009
23

24
                                               /s/ OLIVER W. WANGER
25
                                               Honorable Oliver W. Wanger
26                                             United States District Court Judge
27

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                                                                                  Stipulation for Continuance
                                                                                               08-0087 OWW
